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                              UNITED STATES DISTRICT COURT FOR
                              THE SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 1:20-cv-20078-RNS

    MARIA DOLORES CANTO MARTI, as
    personal representative of the Estates of
    Dolores Marti Mercade and Fernando Canto
    Bory,

             Plaintiff,

    v.

    IBEROSTAR HOTELES Y
    APARTAMENTOS, S.L., a Spanish limited
    liability company,

             Defendant.

    ____________________________________/


             DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION TO LIFT STAY

            Defendant IBEROSTAR HOTELES Y APARTAMENTOS, S.L.U. (“Iberostar”) submits

   this Response to Plaintiff’s Motion to Lift Stay in the above-titled action (ECF No. 21) (the

   “Motion”). The proceedings were stayed by this Court on April 24, 2020 (the “Stay”), “pending

   the Iberostar’s request for authorization from the European Commission” (ECF No. 17) (the

   “Order”). In support of Defendant’s opposition to Plaintiff’s Motion, Defendant states as follows:

                                I.    PRELIMINARY STATEMENT

   1. The European Commission requires an EU-based company to obtain authorization before it

         can file a response to any lawsuit brought under the Cuban Liberty and Democratic Solidarity

         (Libertad) Act (the “Helms-Burton Act” or the “Act”). This requirement arises from Council

         Regulation 2271/96, Protecting Against the Effects of the Extra-Territorial Application of
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      Legislation Adopted by a Third Country, and Actions Based Thereon or Resulting Therefrom,

      1996 O.J. (L 309) 1 (EC) (the “Council Regulation 2271/96”).

   2. On April 15, 2020, Iberostar filed an application for authorization to the European Commission

      to respond to the Complaint in this action (the “Application”).

   3. On May 19, 2020, the European Commission acknowledged receipt of Defendant’s

      Application.

   4. On June 15, 2020, Iberostar requested the European Commission to provide an update on the

      status of the Application.

   5. On June 22, 2020, the European Commission confirmed that it is “currently assessing

      [Defendant’s] application,” and that the Commission does “[its] utmost to ensure that a

      decision is taken in due course.”

   6. The Order staying the case was entered on April 24, 2020, and required Iberostar to submit a

      status report every 30 days regarding Iberostar’s request for authorization. Since the last status

      report filed by Iberostar, the European Commission, on July 24, 2020, requested additional

      information from Iberostar.

   7. This morning, on August 10, 2020, the European Commission informed Iberostar that “the

      duration of the administrative procedure pursuant to Article 5, second paragraph, [of Council

      Regulation 2271/96] varies according to the complexity of the case.” It also stated that “the

      procedure requires extensive consultation of both the Commission’s services and Member

      States’ authorities,” and reminded Iberostar that “until and unless [Iberostar] receives an

      explicit authorisation from the Commission, Article 5, first paragraph, prohibits [Iberostar]

      from actively appearing before U.S. courts pursuant to the relevant summons or any others

      based on Title III of the Helms-Burton Act, including the filing of a Rule 12 motion.”



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   8. When Defendant sought the Stay, Defendant was confident the European Commission would

       resolve the Application within ten weeks. This estimate was based upon the European

       Commission traditional practice in other matters and because the application sought it be

       considered on an expedited basis. See Declaration of Hermenegildo Altozano, ¶ 5 (ECF No.

       16-2). However, we believe this is the first time the European Commission has considered an

       authorization request under Council Regulation 2271/96 based on a claim under the Helms-

       Burton Act.1 Because the process is confidential and may be without precedent it has taken

       longer than anticipated. The current pandemic has also slowed down the processing of

       Iberostar’s Application, making it difficult to make a prediction at this point. Defendant is

       doing everything in its power to assist the process, keeping the Commission informed of the

       need and status in this litigation, and emphasizing to the Commission the importance of its

       resolution of Defendant’s Application.

   9. The Order should be maintained and the Stay should not be lifted in order to provide Defendant

       a fair opportunity to obtain the authorization it needs to participate in these proceedings, and

       avoid the EUR 600,000 in fines for each breach that Defendant is exposed to if it does not

       obtain authorization to defend itself in this action.

   10. The Stay is warranted, moderate and consistent with Eleventh Circuit precedent. As such, the

       Order should not be vacated. The Stay is warranted on international comity grounds because

       the Council Regulation 2271/96 requires Iberostar to obtain authorization before it files a

       motion to dismiss with this Court. Title III is in conflict with an EU statute that condemns the




   1
     Defendant cannot comment on Plaintiff’s speculative statement that “[i]t appears that a similarly situated defendant
   has filed a motion to dismiss a Title III Helms-Burton action in this district without any apparent authorization from
   the European Commission.” Motion at n.4 (ECF No. 21). Any proceeding before the European Commission is
   confidential and it is impossible for Defendant—or any third party—to confirm whether or not such defendant has
   sought authorization from the European Commission, or otherwise been granted or denied such a request.

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      title and imposes strict requirements on its European citizens due to its extra territorial scope

      and application. The proceeding to obtain authorization is progressing as demonstrated by the

      fact that the European Commission sought additional information from Iberostar as recently as

      ten days ago. The Stay is the only way for Defendant to answer this Court’s summons without

      facing fines and be in violation of European regulations. Importantly, Defendant is not seeking

      to avoid U.S. litigation by invoking a foreign blocking statute, but the opposite. Defendant is

      seeking authorization to engage in U.S. litigation despite the existence of a foreign blocking

      statute. The difference is dispositive of the Motion, which should be denied.

   11. The time that has elapsed under the Stay that is in place is not immoderate. Ninety days is not

      excessive in light of the pandemic and the issues raised by the Helms-Burton Act claim against

      Iberostar, a Spanish entity. The 30 day status reports provide a mechanism to ensure the matter

      does not linger indefinitely.

                                      II.   LEGAL STANDARD

   12. The Supreme Court has recognized that “the power to stay proceedings is incidental to the

      power inherent in every court to control the disposition of the causes on its docket with

      economy of time and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299

      U.S. 248, 254 (1936). “How this can best be done calls for the exercise of judgment, which

      must weigh competing interest and maintain an even balance.” Id. at 254-55.

   13. “A variety of circumstances may justify a stay pending resolution of a related case in another

      court.” Trujillo v. Conover & Co. Commc’ns, 221 F.3d 1262, 1264 (11th Cir. 2000). Here,

      however, there is no “related case in another court,” id., but a proceeding before a European

      agency, the European Commission, in which Defendant is seeking permission to participate in

      the litigation brought by Plaintiff before this Court. The Supreme Court has held that



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      abstention principles “permit a federal court to enter a stay order that postpones adjudication

      of the dispute.” Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 719, 116 S. Ct. 1712, 1722

      (1996) (emphasis in the original) (internal citations omitted). It is well-settled that “a district

      court has the authority to stay proceedings on its own motion or on motion of the parties.” In

      re Braga, 789 F. Supp. 2d 1294, 1307 (S.D. Fla. 2011) (citing Landis, 299 U.S. at 254 (noting

      that federal courts have inherent authority to stay proceedings)) (other internal citations

      omitted). “Federal courts routinely exercise their power to stay a proceeding where a stay

      would promote judicial economy and efficiency.” Cypress Chase Condo. Ass’n “A” v. QBE

      Ins. Corp., No. 10-61987-CIV, 2011 U.S. Dist. LEXIS 41104, 2011 WL 1544860, at *15 (S.D.

      Fla. Apr. 15, 2011). In the Eleventh Circuit, the critical question for a district court in deciding

      a stay request is whether the related proceeding is “likely to have a substantial or controlling

      effect on the claims and issues in the stayed case.” Miccosukee Tribe of Indians of Fla. v. S.

      Fla. Water Mgmt. Dist., 559 F.3d 1191, 1198 (11th Cir.2009); accord In re Braga, 789 F.

      Supp. 2d 1294, 1310 (S.D. Fla. 2011).

                               III.    MEMORANDUM OF LAW

   14. This Court granted the Stay “[i]n the interest of international comity,” Order at ¶ 2, and

      properly limited the Stay’s scope, as required by the Eleventh Circuit, until the European

      Commission decides Iberostar’s Application. Trujillo, 221 F.3d at 1264. The Stay is not

      “immoderate,” id., or indefinite. The Stay is warranted to provide Iberostar a fair opportunity

      to obtain an authorization from the European Commission to comply with this Court’s

      summons, and as such it should not be lifted. As a European entity, Iberostar has no alternative

      in order to comply with applicable European regulations but to seek authorization from the

      European Commission.



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      I.      International Comity Warrants the Stay of this Proceeding Until the European
              Commission Decides Iberostar’s Application for Authorization to Comply with
              this Court’s Summons
   15. International comity is an abstention doctrine that reflects “[t]he extent to which the law of one

      nation, as put in force within its territory, whether by executive order, by legislative act, or by

      judicial decree, shall be allowed to operate within the dominion of another nation.” Hilton v.

      Guyot, 159 U.S. 113, 163, 16 S.Ct. 139, 40 L.Ed. 95 (1895). It “serves as a guide to federal

      courts where the issues to be resolved are entangled in international relations.” Ungaro-

      Benages v. Dresdner Bank AG, 379 F.3d 1227, 1237 (11th Cir. 2004) (internal citations

      omitted). Comity “is a nation’s expression of understanding which demonstrates due regard

      both to international duty and convenience and to the rights of persons protected by its own

      laws.” GDG Acquisitions, LLC v. Gov’t of Belize, 749 F.3d 1024, 1030 (11th Cir. 2014)

      (internal citations omitted).

   16. The issues to be resolved here, namely, Plaintiff’s claims brought against a European entity

      under Title III of the Helms-Burton Act, “are entangled in international relations.” Ungaro–

      Benages, 379 F.3d at 1237. As explained in Defendant’s Motion to Stay, under Council

      Regulation 2271/96, Iberostar faces EUR 600,000 in sanctions for each breach of that

      regulation, including failure to obtain authorization from the European Commission before it

      files a motion to dismiss with this Court. (ECF No. 16 at ¶ 3.) See also Order at ¶ 2 (ECF No.

      17).

   17. The Stay acknowledges an “expression of understanding” of a United States’ district court to

      Defendant’s difficult position, based on its European nationality and domicile and two

      conflicting legal systems. GDG Acquisitions, 749 F.3d at 1030 (internal citations omitted).

      The Stay also “demonstrates due regard both to international duty and convenience and to the

      rights of persons protected by its own laws,” Id. It is Defendant’s “international duty,” as a

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      European entity, to obtain permission to comply with this Court’s summons. Id. It is also a

      matter of “convenience” to allow Defendant to obtain such authorization before this litigation

      proceeds. Id. Both Defendant’s Motion for a Stay and the Order demonstrated “due regard . . .

      to the rights of persons protected under [the Act],” because Defendant sought, and the Order

      granted, time to obtain permission from the Commission to engage in Plaintiff’s litigation, not

      to avoid it.

   18. Further, the Stay is warranted because the related proceeding is “likely to have a substantial or

      controlling effect on the claims and issues in the stayed case.” Miccosukee Tribe of Indians of

      Fla. v. S. Fla. Water Mgmt. Dist., 559 F.3d 1191, 1198 (11th Cir.2009); accord In re Braga,

      789 F. Supp. 2d 1294, 1310 (S.D. Fla. 2011).             The proceeding before the European

      Commission arises from a blocking statute engendered by the enactment of Title III of the Act.

      The Commission’s proceeding will therefore have a substantial effect on Iberostar’s rights and

      obligations under both U.S. and European law. Id.

   19. Plaintiff correctly states that, the doctrine of comity has “historically been extended to foreign

      proceedings in which a judgment has been rendered.” French Cuff v. Markel Am. Ins. Co.,

      2007 U.S. Dist. LEXIS 115813, *6. See Motion at p. 3. This is not such a case because no

      judgment has been rendered in foreign proceedings here.

   20. Plaintiff asserts the Stay was improperly entered “where there is no judgment from a court in

      another country.”     Motion at p. 4.      To support her statement, Plaintiff cites to GDG

      Acquisitions, LLC v. Gov’t of Belize, 749 F.3d 1024, 1025 (11th Cir. 2014). In GDG

      Acquisitions, the Eleventh Circuit reversed a decision by a district court dismissing an action

      on prospective international comity grounds, based on interests “in resolving the dispute in a

      foreign forum.” GDG Acquisitions, 749 F.3d at 1030. Plaintiff’s reference is misplaced



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      because there is not such an interest here. Far from asking this Court to dismiss Plaintiff’s

      action to have it “resolv[ed]” in Spain, Iberostar is seeking permission in Europe to engage in

      litigation in the U.S. Id. The outcome in GDG Acquisitions is inapposite here.

   21. Plaintiff further quotes a Second Circuit case, Pravin Banker Assocs. v. Banco Popular Del

      Peru, 109 F.3d 850, 854 (2d Cir. 1997), and its holding that Courts will not yield to foreign

      proceedings, however, if deferring would “be contrary to the policies or prejudicial to the

      interests of the United States.” Id. See Motion at p. 3. Not only is Iberostar not requesting

      that this court yield to foreign proceedings, but Plaintiff failed to argue any policy or interest

      of the United States that is being prejudiced by the Stay, which was granted precisely to allow

      Iberostar to properly appear in this U.S. litigation. In Pravin, the assignee of a creditor sued

      the Republic of Peru and its instrumentality seeking the enforcement of Peruvian debt. Peru

      had started efforts to negotiate the settlement of its unpaid debt and sought the stay of the

      enforcement proceeding in the U.S. to avoid “a creditor stampede to find and attach Peruvian

      assets.” Pravin 109 F.3d at 853. The Second Circuit noted that “extending comity to Peru’s

      debt negotiations [was] only appropriate if it [was] consistent with United States government

      policy.” Pravin 109 F.3d at 855. The Court identified at least two aspects of United States

      policy implicated by that suit, including “the United States strong interest in ensuring” “the

      continuing enforceability of foreign debts owed to United States lenders,” id., and on that basis

      affirmed the district court’s denial of the stay. Here, Plaintiff failed to identify any specific

      United States policy or interest that is being prejudiced by the Order allowing Iberostar to seek

      authority from the European Commission to participate in these proceedings.

   22. Plaintiff also states, quoting Custom Polymers PET, LLC v. Gamma Meccanica SPA, 185 F.

      Supp. 3d 741, 751 (D.S.C. 2016), that “[a]bstention is rarely invoked and only under



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      exceptional circumstances may a federal court order a stay or dismissal of an action to avoid

      duplicative litigation in a foreign country.” Motion at p. 3. Polymers was decided under South

      Carolina law by a South Carolina district court. It is not binding on this court and inapposite

      in this case for several reasons.

   23. First, unlike in Polymers, the purpose of the Stay is not “to avoid duplicative litigation in a

      foreign country,” Polymers, 185 F. Supp. 3d at 751, but to allow time for Iberostar “to obtain

      authorization before filing a response” to this lawsuit, Order at ¶ 1.

   24. Second, the factors considered in Polymers when addressing whether to stay the case under

      principles of international comity followed “the Fourth Circuit[’s] Colorado River abstention

      doctrine,” Polymers, 185 F. Supp. 3d at 751, which was later discussed and applied by the

      Eleventh Circuit in Turner Entertainment Co. v. Degeto Film GmbH, 25 F.3d 1512, 1518 (11th

      Cir. 1994). The Colorado River factors are, however, inapplicable to this case because they

      assume the existence of duplicative litigation in a foreign country, an element that is lacking

      here.   Colorado River requires, first, considering “the relative order of the two suits.”

      Polymers, 185 F. Supp. 3d at 751. Obviously Iberostar cannot request permission to appear in

      a U.S. litigation before such litigation has started. The proceeding before the European

      Commission must necessarily come after the Helms-Burton litigation has been brought in the

      U.S. The second factor, i.e., “[w]hether [Florida] is a more convenient forum than [Spain]” is

      not pertinent either because Defendant is not seeking to move this litigation to Spain or to have

      the claims brought by Plaintiff litigated in Spain. Polymers, 185 F. Supp. 3d at 753. The third

      factor, the “source of law in the case,” Polymers, 185 F. Supp. 3d at 751, is also irrelevant

      because the issues to be decided in each proceeding are different and thus subject to different

      applicable laws. The European Commission must decide whether Iberostar should be allowed



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       to participate in the U.S. litigation under Council Regulation 2271/96. This Court will decide

       claims brought under the Helms-Burton Act. Put simply, the analysis under Polymers does

       not work in the case at hand.

    25. Finally, Plaintiff wrongly alleges that Defendant “attempts to supersede United States law with

       foreign law,” Motion at p. 6, by asking this Court to “defer[] to the ‘blocking law’ of another

       country,” id. at p. 5. Defendant, however, is doing the opposite, namely, seeking authorization

       to comply with this Court’s summons despite the blocking law.

    26. In Societe Nationale, the Supreme Court barred an approach that would “effectively subject

       every American court hearing a case involving a national of a contracting state to the internal

       laws of that state.” Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Court for S. Dist.

       of Iowa, 482 U.S. 522, 539 (1987). Unlike in Societe Nationale, Council Regulation 2271/96

       does not apply to every European national before “an American court hearing a case,” but only

       in those few cases arising from the Helms-Burton Act. In any event, in Societe Nationale, the

       party resisting discovery invoked a French blocking statute to avoid to comply with a U.S.

       court discovery request. Here, Iberostar is invoking a European blocking statute, namely, the

       Council Regulation 2271/96, in order to seek the authority to comply with this Court’s

       summons.

    27. Plaintiff also cites to Snowden v. Connaught Labs., Inc., 138 F.R.D. 138, 141 (D. Kan. 1991),

       in which “a district court rejected a defendant’s attempt to use a Canadian blocking statute to

       thwart compliance with an order or subpoena from outside of Ontario.” Motion at pp. 6-7.

       Unlike in Snowden, Iberostar is not seeking to “thwart compliance with an order” from this

       Court, but to pursue an avenue that will allow it to defend itself. Id. And to that end, Defendant

       filed the Application with the European Commission.



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    28. Finally, Plaintiff argues that “a stay of an action brought under Helms-Burton in favor of a

       proceeding to obtain authorization under the EC Blocking Regulation does nothing for

       international comity as the European Union rejects the premise and effect of Title III of the

       Helms-Burton Act just as the United States rejects the premise and effect of the EC Blocking

       Regulation.” Motion at pp. 10-11. This is incorrect. First, Plaintiff adduces no evidence that

       the United States “rejects the premise and effect of the EC Blocking Regulation.” Motion at

       p. 11. Second, staying the U.S. proceeding to allow Defendant to obtain an authorization

       promotes international comity because allowing Iberostar to pursue such -authorization,

       despite the conflict over permissibility of extra-territoriality between the Helms-Burton Act

       and the Council Regulation 2271/96, enables Iberostar to appear before the European

       Commission and establish a record of compliance while the Court establishes and expresses

       understanding and due regard to foreign nations without any serious impairment to Plaintiff’s

       rights.

       II.       The Stay Is Neither Immoderate nor Indefinite, but Fully Consistent With
                 Eleventh Circuit’s Precedent.
    29. In exercising its discretion to stay a case pending resolution of “related proceedings in another

       forum, the district court must limit properly the scope of the stay.” Trujillo, 221 F.3d at 1264.

       A stay must not be “immoderate.” CTI-Container Leasing Corp. v. Uiterwyk Corp., 685 F.2d

       1284, 1288 (11th Cir.1982). “[A] stay is immoderate and hence unlawful unless so framed in

       its inception that its force will be spent within reasonable limits, so far at least as they are

       susceptible of prevision and description.” Landis, 299 U.S. at 257. In considering whether a

       stay is “immoderate,” the Eleventh Circuit examines “both the scope of the stay (including its

       potential duration) and the reasons cited by the district court for the stay.” Trujillo, 221 F.3d

       at 1264.


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    30. The “reasons cited by the district court for the stay,” id., are to provide an opportunity to

       Defendant to obtain an authorization before the European Commission. In the Order, this

       Court determined that, “in the interest of international comity . . . it [was] appropriate to stay

       this case pending the Iberostar’s request for authorization from the European Commission.”

       Order at ¶ 2. The reasons are consistent with abstention principles, including international

       comity, and with binding precedent. See ¶¶14-28 above.

    31. The scope of the Stay and its potential duration was consistent with the Stay’s goal. The Order

       took into account that the “request for authorization ha[d] already been filed and is currently

       pending before the European Commission.” Order at ¶ 2. On June 22, 2020, the European

       Commission confirmed that it was “assessing [Defendant’s] application,” and that the

       Commission does “[its] utmost to ensure that a decision is taken in due course.” See ¶ 5 above.

       The European Commission continues to work on Iberostar’s Application and has recently

       requested additional information. See ¶¶ 6-7 above.

    32. Plaintiff alleges that the “Eleventh Circuit has found that a district court abused its discretion

       when it stayed ‘a case pending the resolution of related proceedings in another forum . . .’

       Trujillo, 221 F.3d at 1264.” Motion at p. 4. The facts in Trujillo, however, were very different

       from the facts in this case.

    33. In Trujillo, Banco Central del Ecuador brought suit in a Bahamian court against several

       members of the Trujillo family and several companies associated with the Trujillos. The

       Eleventh Circuit found the stay to be “indefinite in scope” because the “stay appear[ed] to

       expire only after a trial of the Bahamian case and the exhaustion of appeals in that case.”

       Trujillo, 221 F.3d at 1264. Also because “the Bahamian case [was] not progressing quickly.”

       Id. In support of its holding the Eleventh Circuit cited to two cases, American Manuf. Mut.



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       Ins.Co. v. Edward D. Stone, Jr. & Assoc., 743 F.2d 1519 (11th Cir.1984) and CTI–Container

       Leasing Corp. v. Uiterwyk Corp., 685 F.2d 1284 (11th Cir.1982).

    34. In Stone, the Eleventh Circuit found the stay of federal court proceedings pending conclusion

       of state court proceedings indefinite where the state proceedings had been pending for 18

       months and no trial date had been set in state court. Stone, 743 F.2d at 1524.

    35. In CTI-Container, the Eleventh Circuit vacated a decision to stay a federal litigation pending

       determination by the Iran-United States Claims Tribunal of its jurisdiction to hear claims, on

       the basis of an agreement between the United States and the Government of Iran. CTI–

       Container, 685 F.2d at 1288. The Eleventh Court’s rationale to vacate the stay in CTI-

       Container was mostly because there was “no way to estimate the months or even years that

       may pass before [the pending claims in the parallel litigation] are decided by the Iran-United

       States Claims Tribunal.” CTI–Container, 685 F.2d at 1287.

    36. In the words of the Eleventh Circuit, in both CTI-Container and Stone the stay requests were

       denied because they “involved stays resulting in indefinite delays pending the outcome of

       proceedings that were unlikely to control or to narrow substantially the claims or unresolved

       issues in the stayed lawsuit.” Miccosukee, 559 F.3d at 1197. This is not the case here.

    37. This case has not been stayed pending parallel litigation before a foreign court. The distinction

       is of paramount importance in this case. The Stay is not of indefinite nature because it will

       expire as soon as the European Commission resolves Iberostar’s Application, which it has been

       actively considering for 90 days now. There is no need to wait for a “trial of [a] Bahamian

       case and the exhaustion of appeals,” like there was in Trujillo. Trujillo, 221 F.3d at 1264.

       There is no pending state court parallel proceeding that has caused this litigation to be stayed

       for 18 months, like the case in Stone. Stone, 743 F.2d at 1524. Finally, there is no agreement



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       between two countries, like Iran and the United States, that has made a foreign tribunal

       question whether it has jurisdiction to determine the foreign dispute that caused the U.S.

       litigation to be stayed, like there was in CTE-Container. CTI–Container, 685 F.2d at 1288.

       This stay has nothing to do with waiting for a full, complex and long foreign proceeding to

       finalize: Iberostar requested authorization to file a Motion to Dismiss; the European

       Commission is actively considering the petition, and Defendant is swiftly providing the

       Commission with any information it needs so that it can resolve Iberostar’s Application as

       soon as possible.

    38. In Trujillo the fact that “the record indicate[d] that the Bahamian case [was] not progressing,”

       played a strong role in the Eleventh Circuit’s decision to have the stay vacated. Trujillo, 221

       F.3d at 1264. Here, the European Commission has been in close contact with Defendant and

       it does “[its] utmost to ensure that a decision is taken in due course.” See ¶ 5 above.

    39. Furthermore, to vacate the stay in Trujillo, the Eleventh Circuit considered that “courts

       regularly permit parallel proceedings in an American court and a foreign court.” Trujillo, 221

       F.3d at 1265 (internal citations omitted). Here, the authorization proceeding before the

       European Commission and this U.S. litigation cannot proceed in parallel. Iberostar is seeking

       permission to comply with this Court’s summons, which Iberostar cannot do unless it is

       expressly authorized. Otherwise, “Iberostar faces EUR 600,000 in sanctions for each breach

       for failure to first obtain authorization.” Order at ¶ 2.




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                                           III.   CONCLUSIONS

    40. The Stay is warranted, consistent with Eleventh Circuit’s precedent, and necessary for

       Iberostar to obtain authorization to comply with this Court’s summons.

    41. For the foregoing reasons, Defendant respectfully requests the Motion be denied.

    Filed this 10th day of August, 2020.

                                                    Respectfully Submitted,

                                                    Counsel for Iberostar

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                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on August 10, 2020, a true and correct copy of this RESPONSE

    TO PLAINTIFF’S MOTION TO LIFT STAY was filed with the Clerk of Court using the CM/ECF

    system which will send notification of the filing to all counsel and parties of record.

                                                                   /s/Adolfo E. Jiménez
                                                                   Adolfo E. Jiménez




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